69 F.3d 544
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Berjouhie Abraham MIKAELIAN, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 94-70719.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 24, 1995.*Decided Nov. 1, 1995.
    
      Before:  BEEZER, THOMPSON, and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We grant Berjouhie Abraham Mikaelian's petition for review of the Board of Immigration Appeals summary dismissal of her appeal, under this court's recent decision in Castillo-Manzanarez v. INS, 65 F.3d 793 (9th Cir.1995).
    
    
      3
      PETITION GRANTED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    